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 6                           UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA                   )   Case No. 01CR2329-L
                                                )
 9                      Plaintiff,              )   JUDGMENT AND ORDER OF
                                                )   DISMISSAL OF INDICTMENT AND
10         v.                                   )   RECALL ARREST WARRANT
                                                )
11   SALVADOR SANCHES (3),                      )
     SERGIO ROBLEDO (5),                        )
12                                              )
                        Defendants.             )
13                                              )
14
           Upon motion of the UNITED STATES OF AMERICA and good cause
15
     appearing,
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           IT IS HEREBY ORDERED that the Indictment in the above entitled case be
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     dismissed without prejudice, and the Arrest Warrant be recalled.
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           IT IS SO ORDERED.
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     DATED: August 15, 2013
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                                             M. James Lorenz
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                                             United States District Court Judge
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